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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:09CR3044
                                        )
            V.                          )
                                        )
HEATHER HRUBY,                          )                   ORDER
                                        )
                   Defendant.           )
                                        )


       IT IS ORDERED that the plaintiff’s motion to dismiss (filing no. 337) the
petition for offender under supervision (filing no. 291) is granted. The defendant’s
March 3, 2016, revocation hearing is canceled.

      DATED this 26th day of February, 2016.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       Senior United States District Judge
